       Case 5:22-cv-02637-EJD Document 22-2 Filed 05/20/22 Page 1 of 3



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 8                                UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                        SAN JOSE DIVISION

11   APPLE INC., a California corporation,                   Case No.    5:22-cv-02637-EJD
12                         Plaintiff,                        [PROPOSED] ORDER GRANTING
                                                             APPLE’S ADMINISTRATIVE
13          v.                                               MOTION TO FILE UNDER SEAL
                                                             DECLARATIONS IN SUPPORT
14   RIVOS, INC., a Delaware corporation; WEN                OF EX PARTE MOTION FOR
     SHIH-CHIEH a/k/a RICKY WEN, and BHASI                   TEMPORARY RESTRAINING
15   KAITHAMANA,                                             ORDER, EXPEDITED
                                                             DISCOVERY, AND ORDER TO
16                         Defendants.                       SHOW CAUSE
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     [PROPOSED] ORDER GRANTING PLAINTIFF’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     CASE NO. 5:22-cv-02637-EJD
       Case 5:22-cv-02637-EJD Document 22-2 Filed 05/20/22 Page 2 of 3



 1          Having considered the Declarations of Daniel Murray, Daniel Roffman (including

 2   Appendix B), and Bryan Wilson, and Exhibits F-G and O-Q to the Declaration of Bryan Wilson

 3   in Support of Plaintiff’s Ex Parte Motion for a Temporary Restraining Order, Expedited

 4   Discovery, and an Order to Show Cause, Apple’s Administrative Motion to File Under Seal, and

 5   the Prendergast Declaration in Support of Plaintiff’s Administrative Motion to File Under Seal, as

 6   summarized below:

 7    ECF or                                        Portion(s)
                              Document                                 Basis for Sealing
      Exh. No.                                        to Seal
 8                Declaration of Daniel Murray in Highlighted This document contains
                  Support of Plaintiff’s Ex Parte  portions.   confidential Apple information
 9                Motion for a Temporary                       including details of technology
                  Restraining Order, Expedited                 Apple has asserted as a trade
10                Discovery, and Order to Show                 secret. Public disclosure of this
                  Cause                                        information would cause harm to
11                                                             Apple.
                  Declaration of Daniel Roffman in Highlighted The highlighted portions and
12                Support of Plaintiff’s Ex Parte  portions    Appendix B contain confidential
                  Motion for a Temporary           and         Apple information including
13                Restraining Order, Expedited     Appendix    details of technology Apple has
                  Discovery, and Order to Show     B.          asserted as a trade secret, and
14                Cause                                        also contain technical details,
                                                               forensic analysis, and personally
15                                                             identifying information of
                                                               unnamed individuals. Public
16                                                             disclosure of this information
                                                               would cause harm to Apple and
17                                                             could cause harm to unnamed
                                                               individuals.
18                Declaration of Bryan Wilson in   Highlighted The highlighted portions contain
                  Support of Plaintiff’s Ex Parte  portions.   or refer to personally identifying
19                Motion for a Temporary                       information of individuals not
                  Restraining Order, Expedited                 named in the Complaint. Public
20                Discovery, and Order to Show                 disclosure of this information
                  Cause                                        could potentially cause harm to
21                                                             these unnamed individuals.
                  Exhibits F-G and O-Q to          Highlighted The highlighted portions contain
22                Declaration of Bryan Wilson in   portions.   or refer to personally identifying
                  Support of Plaintiff’s Ex Parte              information of individuals not
23                Motion for a Temporary                       named in the Complaint. Public
                  Restraining Order, Expedited                 disclosure of this information
24                Discovery, and Order to Show                 could cause harm to these
                  Cause                                        unnamed individuals.
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     [PROPOSED] ORDER GRANTING PLAINTIFF’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     CASE NO. 5: 22-cv-02637-EJD                                                                     1
       Case 5:22-cv-02637-EJD Document 22-2 Filed 05/20/22 Page 3 of 3



 1            IT IS HEREBY ORDERED that Apple’s Administrative Motion is GRANTED. The

 2   Clerk of the Court shall file under seal the identified documents.

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 4   Dated:

 5                                                     Honorable Edward J. Davila
                                                       United States District Judge
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     [PROPOSED] ORDER GRANTING PLAINTIFF’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     CASE NO. 5: 22-cv-02637-EJD                                                        2
